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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA


 UNITED STATES OF AMERICA,                         Case No. 16‐CR‐0141(8) (PJS/HB)
                                                      Case No. 22‐CV‐1475 (PJS)
                      Plaintiff,

 v.
                                                                 ORDER
 RODNEY FRANKLIN PITTMAN,

                      Defendant.



       Defendant Rodney Pittman pleaded guilty to one count of conspiring to

distribute controlled substances and two counts of distributing cocaine base. The Court

sentenced him to 90 months in prison and three years of supervised release. ECF

No. 478. Pittman’s sentence represented a significant downward variance from the

range recommended by the United States Sentencing Guidelines. ECF No. 479. On

July 31, 2019, the United States Court of Appeals for the Eighth Circuit affirmed

Pittman’s sentence on direct appeal. ECF Nos. 505, 506.

       This matter is before the Court on Pittman’s motion pursuant to 28 U.S.C. § 2255

to vacate, set aside, or correct his sentence.1 For the reasons set forth below, the motion




       1
        Because the Court was unsure whether Pittman’s filing was intended to be a
motion under § 2255, the Court advised him of the consequences of treating his filing as
a § 2255 motion and asked him for clarification pursuant to Castro v. United States, 540
U.S. 375, 383 (2003). ECF No. 603. Pittman then clarified that he wanted his filing to be
treated as a § 2255 motion. ECF No. 606.
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is denied. Because the record conclusively demonstrates that Pittman is not entitled to

relief, no hearing is necessary.2 See Rule 4(b) of the Rules Governing § 2255 Proceedings

for the United States District Courts; 28 U.S.C. § 2255(b); Noe v. United States, 601 F.3d

784, 792 (8th Cir. 2010).

       At sentencing, the Court found that Pittman was subject to the career‐offender

enhancement under § 4B1.1 of the United States Sentencing Guidelines because he had

two previous felony convictions for crimes of violence—specifically, two convictions for

simple robbery under Minn. Stat. § 609.24. Rev. PSR ¶¶ 98, 100 [ECF No. 475]. Pittman

now argues that Minnesota simple robbery no longer qualifies as a crime of violence

under the Guidelines and that he is therefore entitled to a reduced sentence. Setting

aside the fact that Pittman’s § 2255 motion is likely barred by the statute of limitations,

see § 2255(f), Pittman’s argument fails for two additional reasons:

       First, because Pittman’s 90‐month sentence is lower than the 20‐year maximum

applicable to his counts of conviction under 21 U.S.C. § 841(a)(1) and (b)(1)(C), see ECF

No. 478 at 1, his claim that the Court erroneously calculated his Guidelines range is not

cognizable under § 2255. Sun Bear v. United States, 644 F.3d 700, 704–05 (8th Cir. 2011)

(en banc) (because the defendant’s sentence was within the authorized statutory




       2
       Because no hearing is necessary, the Court denies Pittman’s motion for a
hearing. See ECF No. 605.

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maximum, his “collateral attack on an application of the career offender guidelines

provisions is not cognizable under § 2255”).

       Second, Pittman is simply incorrect on the merits, as Minnesota simple robbery

remains a crime of violence under § 4B1.2(a)(1) of the Guidelines. See United States v.

Jackson‐Bey, 964 F.3d 730, 732 (8th Cir. 2020), cert. denied, 142 S. Ct. 151 (2021) (holding

that Stokeling v. United States, 139 S. Ct. 544 (2019), reinforced earlier cases finding that

Minnesota simple robbery is a “violent felony” under an identical definition in the

Armed Career Criminal Act). The Court therefore rejects Pittman’s claim that he no

longer qualifies as a career offender under the Guidelines.

       Pittman’s remaining arguments concern his desire to be reunited with his family,

the difficulties he has been having in prison, and various complaints about prison

conditions. None of these arguments provide a basis for relief under § 2255, which only

provides a remedy for prisoners “claiming the right to be released upon the ground that

the sentence was imposed in violation of the Constitution or laws of the United States,

or that the court was without jurisdiction to impose such sentence, or that the sentence

was in excess of the maximum authorized by law, or is otherwise subject to collateral

attack.” 28 U.S.C. § 2255(a). Pittman’s § 2255 motion is therefore denied.




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                                         ORDER

     Based on the foregoing, and on all of the files, records, and proceedings herein,

IT IS HEREBY ORDERED THAT:

     1.      Defendant’s motion to vacate, set aside, or correct his sentence [ECF

             No. 607] is DENIED.

     2.      Defendant’s motion for a hearing [ECF No. 605] is DENIED.

     3.      No certificate of appealability will issue.

     LET JUDGMENT BE ENTERED ACCORDINGLY.


Dated: June 24, 2022                          s/Patrick J. Schiltz
                                              Patrick J. Schiltz
                                              United States District Judge




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